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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MICHAEL L. TAYLOR and
PETER M. TAYLOR,

Petitioners,

Vv. Civil No. 4:20-cv-11272-IT
JEROME P. MCDERMOTT, Sheriff,
Norfolk County, Massachusetts, and
JOHN GIBBONS, United States Marshal,
District of Massachusetts,

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Respondents.
ORDER

October 29, 2020
TALWANI, D.J.

Before the court is Petitioners Michael Taylor and Peter Taylor’s Emergency Motion for
Stay [#48]. Petitioners allege that they received notice after 5:00 p.m. yesterday that the Deputy
Secretary of State had authorized the Petitioners’ surrender to Japan pursuant to 18 U.S.C.
§ 1836 and received an email after 10:00 p.m. seeking confirmation that Petitioners would be
placed on a flight from Boston to Japan today at 1:00 p.m. Petitioners have filed today an
Emergency Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241 [#48]. In order to
allow the court time to review the Emergency Petition, any action to transport or surrender the
Petitioners is STAYED. Counsel for the Respondents are ORDERED to relay this Order as
necessary to ensure that Petitioners are not transported out of the District pending further Order
of the court.

IT IS SO ORDERED.

October 29, 2020 ile. Lote

United States District Judge
